Case 2:21-cv-00297-SMB Document 1-3 Filed 02/17/21 Page 1 of 29




        EXHIBIT 1
                                                                                  /- /r_f—'dJ s1"Vm
        Case 2:21-cv-00297-SMB Document 1-3 Filed 02/17/21 Page 2 of 29
                                                                                 P~;ltklAq*(~C-KQ Y

Person/Attomey Filing: Troy Foster
Mailing Address: 902 W Mcdowell Rd
City, State, Zip Code: Phoenix, AZ 85007
Phone Number: (602)461-7991
E-Mail Address:tfoster@thefosterlaw.com
[] Representing Self, Without an Attorney
(If Attorney) State Bar Number: 017229, Issuing State: AZ

                 IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                       IN AND FOR THE COUNTY OF MARICOPA

 Sandy Frost
 Plaintiff(s),                                          Case No.
 V.
 State Farm Mutual Automobile                     SUMMONS
 Insurance Company
 Defendant(s).
To: State Farm Mutual Automobile Insurance Company

 WARNING: THIS AN OFFICIAL DOCUMENT FROM THE COURT THAT
 AFFECTS YOUR RIGHTS. READ THIS SUMMONS CAREFULLY. IF YOU DO
 NOT UNDERSTAND IT, CONTACT AN ATTORNEY FOR LEGAL ADVICE.

 1. A lawsuit has been filed against you. A copy of the lawsuit and other court papers were
    served on you with this Summons.

 2. If you do not want a judgment taken against you without your input, you must file an
    Answer in writing with the Court, and you must pay the required filing fee. To file your
    Answer, take or send the papers to Clerk of the Superior Court, 201 W. Jefferson,
    Phoenix, Arizona 85003 or electronically file your Answer through one of Arizona's
    approved electronic filing systems at http://www.azcourts.gov/efilinginformation.
    Mail a copy of the Answer to the other party, the Plaintiff, at the address listed on the top
    of this Summons.
    Note: If you do not file electronically you will not have electronic access to the documents
    in this case.

3. If this Summons and the other court papers were served on you within the State of
   Arizona, your Answer must be filed within TWENTY (20) CALENDAR DAYS from the
   date of service, not counting the day of service. If this Summons and the other court papers
   were served on you 6utside the State of Arizona, your Answer must be filed within
   THIRTY (30) CALENDAR DAYS from the date of service, not counting the day of
      service.
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       Requests for reasonable accommodation for persons with disabilities must be made to
the court by parties at least 3 working days in advance of a scheduled court proceeding.

       GIVEN under my hand and the Seal of the Superior Court of the State of Arizona in
and for the County of MAR]COPA




                                             2
       Case 2:21-cv-00297-SMB Document 1-3 Filed 02/17/21 Page 4 of 29


Person/Attorney Filing: Troy Foster
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[ ❑ ] Representing Self, Without an Attorney
(If Attorney) State Bar Number: 017229, Issuing State: AZ


                    IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
                                   IN AND FOR THE COUNTY OF MARICOPA

Sandy Frost
Plaintiff(s),                                           Case No.
V.
State Fai-m Mutual Automobile
                                                        CERTIFICATE OF
Insurance Company                                       COMPULSORY ARBITRATION
Defendant(s).
I certify that I am aware of the dollar limits and any other limitations set forth by the
Local Rules of Practice for the 1Vlaricopa County Superior Court, and i further certify that
this case IS NOT subject to compulsory arbitration, as provided by Rules 72 through 77 of
the Arizona Rules of Civil Procedure.


RESPECTFULLY SUSMITTED this


                                   By: Troy Foster /s/
                                       Plaintiff/Attorney for Plaintiff
     Case 2:21-cv-00297-SMB Document 1-3 Filed 02/17/21 Page 5 of 29




     Troy P. Foster
 1
     Megan N. Weides
 2   The Foster Group, PLLC
     902 W. McDowell Road
 3   Phoenix, Arizona 85007
     Tel: 602-461-7990
4    tfosterg(thefosterlaw.com
 5   mweides@thefosterlaw.com
     Attonzeys for Plairatiff
 6
                           IN TBE SUPERIOR COURT OF ARIZONA
 7

 8
                                IN TIIE COUNTY OF MARICOPA

 9 I Sandy Frost, a married woman,                   Case No.: CV2021-000326

10                                      Plaintiff,
                                                                   COMPLAINT
11
     vs.
12                                                             (Jury Trial Demanded)
     State Farm Mutual Automobile Insurance
13   Company, a foreign corporation;
14                                    Defendant.
15          For her Complaint against State Farm Mutual Automobile Insurance Company ("the
16   Company"), Ms. Sandy Frost ("Plaintiff') alleges as follows:

17                                           Introduction

18          "Like a good neighbor, State Fai~rn is there." For a Company that prides itself on
     being there to help when things go wrong, it completely failed Ms. Sandy Frost. Ms. Frost
19
     dedicated nearly twenty (20) years working there. She excelled in her job and truly enjoyed
20
     her work. All of that changed when Ms. Frost was nearly killed in a car accident and could
21
     no longer perfoi-m her job as she had before.
22          Defendant terminated Ms. Frost after she requested an accommodation and her
23   supervisor began targeting Ms. Frost by treating her differently than her peers and singling
24   her out. In fact, after refusing to engage in the interactive process and denying her
25   accommodation request, the Defendant told Ms. Frost that she was being terminated under




                                                 1
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 1   the guises of performance issues. Notably, these alleged performance issues were related to

 2   Ms. Frost's accommodation request for her qualifying disability.
             These are precisely the circumstances the ADA was contemplated to assist and
 3
     protect employees like Ms. Frost. Giving her additional training or materials, keeping her
 4
     .job available, not terminating her health insurance and other benefits — so that Ms. Frost
 5
     could focus on staying alive and treating her disabilities. Instead, Defendant ignored these
 6
     laws, and deprived Ms. Frost of these statutory protections.
 7                            Background Allegations and Jurisdiction
 8           1.     At all times relevant to this Complaint, Ms. Frost resided in Arizona and is a
 9   citizen of the State of Arizona.
10           2.     At all times relevant to this Complaint, Ms. Frost worked for the Company in

11   Tempe, Arizona.
             3.     At all times relevant to this Complaint, the Company was a corporation in
12
     Arizona, and was authorized to conduct, and was conducting, business in the State of
13
     Arizona.
14
             4.     The Company hired Ms. Frost as a Word Processor on or about October 9,
15   2000.
16           5.     At the time of her. termination on or about January 28, 2020, Ms. Frost was a
17   Claim Specialist in the Enterprise Claim Review Group.
18           6.     The Company employs 15 or more employees.

19           7.     The Company is not exempt from the Americans with Disabilities Act of
     1990, or as amended ("ADA" or "ADAAA").
20
             8.     The Company is an employer as defined in the ADA.
21
             9.     Ms. Frost was an employee as defined in the ADA.
22
             10.    Ms. Frost filed a Charge of Discrimination against the Company with the
23
     EEOC and Arizona Civil Rights Division ("ACRD") on or about March 12, 2020. See
24   Charge No. 540-2020-01346, attached as Exliibit 1.
25




                                                 2
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1           11.     On December 11, 2020, the EEOC issued 1VIs. Frost a Notice of Right to Sue,

2    attached as Exhibit 2.
            12.     On October 13, 2020, the ACRD issued Ms. Frost a Notice of Right to Sue,
3
     attached as Exhibit 3.
4
            13.     Ms. Frost's Complaint has been filed within 90 days from receipt of
 5
     authorization to bring a civil action.
 6
            14.     Ms. Frost has exhausted her administrative remedies.
 7          15.     Jui-isdiction and venue are appropriate in this Court.
 8                                 Car Accident and Consequences
 9          16.     On August 12, 2017, Ms. Frost was in a devastating car accident that resulted
10   in a moderate traumatic brain injury ("TBI") and post-concussion syndrome.

11          17.     As a result of these conditions, Ms. Frost has difficulty multi-tasking,
     retaining information, concentrating, and gets sensory overload easily from lights, sounds,
12
     and movement.
13
            18.     To complicate matters even inore, Ms. Frost also suffers from Multiple
14
     Sclerosis and uses a cane from time to time, making it challenging to walk.
15
            19.     At the time of the car accident, Ms. Frost was employed as a claim specialist
16   handling homeowners' claims.
17          20.     She took the necessary time off to recover from her accident and transitioned
18   slowly back to full-time work.

19          21.     Once back fu11 time, Ms. Frost had difficulty multi-tasking, which caused her
     workload to backup, leading additional stress that would make her physically ill.
20
            22.     Because of the TBI, Ms. Frost is substantially limited in her ability to see,
21
     read, memorize material, listen and take notes / type at the same time, and to speak at times.
22
     She also developed severe sensitivities to light and sound that exposure to causes
23
     debilitating headache and optical migraines.
24          23.     Ms. Frost discussed this with HR and in July of 2018, it was agreed that she
25   should be transferred into another role that required less computer work.



                                                 3
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 1                                HR's Good Intention Turns Sour

 2          24.    On or about December 3, 2018, HR reassigned Ms. Frost to a claim specialist
     role handling automobile policies.
 3
            25.    The pay was less than her previous position, but admittedly Ms. Frost did not
 4
     have any experience with automobile claims and was just grateful to have a new role.
 5
            26.    When HR was telling Ms. Frost about the new job, the HR representative
 6
     mentioned that the hiring manager, Trisha Leija, did not want to hire her but she did not
 7   have a choice since HR was making the decision.
 8          27.    Ms. Leija made it clear to Ms. Frost that she was not pleased with this
 9   decision as she was cold and standoffish to Ms. Frost from the beginning.
10          28.    Ms. Frost self-trained on automobile policies during her first month in the

11   new role.
            29.    The last few weeks in January 2019, training for the new position was
12
     conducted over the telephone and it was difficult for Ms. Frost to keep up with it because of
13
     the TBI symptoms.
14
            30.    Ms. Frost repeatedly told Ms. Leija about the TBI and it hindering her ability
15   to train and learn as quickly as her colleagues, and she requested additional training.
16          31.    At the end of January, 2019; Ms. Frost was given a few additional hours of
17   training but Ms. Leija refused to allow Ms. Frost to ask any questions.
18                                 Call for Help Goes Unanswered

19          32.    After receiving the additional "training," Ms. Leija started reviewing more of
     Ms. Frost's claims than her colleagues, would call her out for bad examples in front of the
20
     entire team, and refused to acknowledge the claims Ms. Frost completed coirectly.
21
            33.    This prompted Ms. Frost to request more training, which Ms. Leija denied
22
     stating that Ms. Frost already received more training.
23
            34.    Ms. Leija also reprimanded Ms. Frost if she asked her colleagues questions.
24
25




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 1          35.     When Ms. Frost complained about the noise level, her sensitivity to it, and

 2   inability to focus because of it, Ms. Leija was rude and dismissive, with one occasion telling
     Ms. Frost to wear earplugs.
 3
            36.     On March 29, 2019, Ms. Frost filed a formal accommodation request with
 4
     Cigna, who handles the Company's FMLA and ADA policies.
 5
            37.     Ms. Frost requested, and her medical documentation supported, that she be
 6
     allowed (a) intermittent leave up to 4 days a month; (b) additional one-on-one training with
 7   her mentor (Leija) and both positive and negative feedback; and (c) the ability to work from
 8   home on days with a planned fire alaim as the sounds, lights, and crowds exacerbate her
9    symptoms.
10          38.     As part of the approval process, HR asked Ms. Leija if Ms. Frost's requests

11   could be accommodated.
            39.     On Apri12, 2019, Ms. Frost went to HR and filed a formal complaint against
12
     Ms. Leija for singling her out and refusing to accommodate her.
13
            40.     In her complaint, Ms. Frost indicated that she did not want to make a formal
14
     complaint at that time in fear of retaliation.
15
                                          Clear Cut Retaliation
16          41.     Any time Ms. Frost asked Ms. Leija a question after her complaint, Ms. Leija I
17   would reply in a condescending tone, "we already discussed this before" or "don't you
18   remember?"

19          42.     It was not until April 18, 2019 that Ms. Leija responded to HR, and only
     approved 1 day of intennittent leave per month and the ability to work from home on
20
     planned fire alarm days. She simply ignored the request for additional training.
21
            43.     No alternative accommodation options were offered and Ms. Leija told Ms.
22
     Frost that she denied the training because it was an undue hardship, but could not say why.
23
            44.     That same day, Ms. Frost had her monthly evaluation with Ms. Leija, and Ms.
24   Frost was written up for performance issues and discussing her disability with her
25   coworkers because it allegedly made them uncomfortable.



                                                  G~
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1           45.    Ms. Frost was also instructed to bring any issues directly to Ms. Leija, not

2    coworkers or HR.
            46.     On April 19, 2019, Ms. Frost asked Ms. Leija if she could work from home
3
     on days she did not feel well from sensory overload.
4
            47.    Ms. Leija told Ms. Frost she would have to call her on the mornings she did
5
     not feel well and seek approval then, despite her coworkers being allowed to work from
6
     home whenever they requested, without having to call Ms. Leija the morning of.
7           48.     On May 9, 2019, nearly a month after her HR complaint, Ms. Frost was
 8   issued a termination warning for job performance. Ms. Frost again indicated she needs more
9    training and it was denied again by Ms. Leija. Ms. Frost asked if she could train on her own

10   time, and this was also denied by Ms. Leija.

11          49.     On May 14, 2019, Ms. Frost emailed HR ADA team asking what her next
     options were to get additional training.
12
            50.     HR ADA Team notified Ms. Leija on May 15, 2019, asking her to discuss
13
     Ms. Frost's alternative solution for additional training.
14
            51.     Again, Ms. Leija initially denied this request but eventually approved one dayl
15   of solo training for Ms. Frost in June.
16          52.     Ms. Leija warned Ms. Frost this was the last time she would be permitted to
17   do this.
18          53.     After her solo day of training in June, Ms. Frost's performance began to

19   improve but it proved to be too little, too late.
            54.     Ms. Leija started writing Ms. Frost up for various minor reasons.
20
            55.     One of these write ups included a security violation for backing into a parking
21
     spot, which Ms. Leija claimed she had to write Ms. Frost up for it because Ms. Frost
22
     discussed the matter of receiving an email from security with a coworker.
23
            56.     Notably, Ms. Frost had been complaining to the Company's security
24   department since 2018 that the parking lot lacked sufficient lighting and handicapped
25   spaces.



                                                   6
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 1          57.    Further, none of Ms. Frost's colleagues had heard of this policy or had been

2    disciplined for backing up into a parking space or for discussing company policies.
            58.    On July 31, 2019, Ms. Frost was removed from her position, citing
 3
     performance issues.
4
            59.    HR agreed to help Ms. Frost find another position but when Ms. Frost
 5
     inquired about different job openings she was qualified for, the Company denied them all.
 6
            60.    Desperate to keep her medical benefits, Ms. Frost applied for short-term
 7   disability in August of 2019.
 8          61.    It was not until December 13, 2019 that Ms. Frost was notified that only two
 9   months of short-term disability was approved.
10          62.    Ms. Frost received a Return to Work Letter dated December 16, 2019, from

11   Ms. Leija saying she could appeal the short-term disability denial or return to work by
     December 30, 2019.
12
            63.    Believing she had been removed from her position, Ms. Frost contacted Ms.
13
     Leija about retuming to work and Ms. Leija asked her if she could perform the job with or
14
     without accommodations.
15          64.    Ms. Frost stated she could with additional training, which Ms. Leija again
16   maintained was an undue hardship.
17          65.    Not having a position to return to and the Company refusing to accommodate
18   her and/or place her in another department, Ms. Frost was terminated on January 28, 2020.

19                               Allegations Concerning Damages
            66.    Ms. Frost was a qualified employee who suffered from disabilities under the
20
     . ~.
21
            67.    Ms. Frost requested an accommodation, on various occasions.
22
            68.    Defendant did not engage in the interactive process.
23
            69.    Instead, the Defendant would finally partially accommodate Ms. Frost, and
24   only after she repeatedly requested it, from her supervisor and HR.
25




                                                7
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1            70.     The Defendant singled Ms. Frost out, in front of her peers, made offensive

2     comments about Ms. Frost's medical condition, and disciplined her for incidents that other
      employees were not disciplined for.
3
             71.     Defendant terminated Ms. Frost because of her disability and its refusal to
4
      engage in the interactive process with her.
5
             72.     As a result of Defendant's actions and additional stress, Ms. Frost's medical
 6
      condition worsened.
 71          73.     Ms. Frost's termination has also'deprived her of a health insurance policy that
 gi she was relying on for continued medical treatment, forcing her to purchase an expensive

 9    marketplace plan that would cover all her specialists and daily medications.
10           74.     Ms. Frost's termination eliminated her future income and resulted in a loss of

11    wages and retirement benefits.
             75.     Ms. Frost's termination, disability and the resulting stress, has made finding
12
      replacement employment difficult.
13
             76.     Ms. Frost has suffered emotional distress, lost wages, and compensatory
14
      damages as a result of Defendant's actions — both before and because of her termination.
15
                                              LEGAL CLAIMS
16                                   Count One: ADA Discriniination
17            77.    Plaintiff reincorporates allegations in paragraphs 1-76, as well as the
18    Introduction, as if fiilly set forth here.

19            78.    At all relevant times, Ms. Frost had an impairment that substantially limited
      one or more life activities.
20
              79.     Ms. Frost's TBI and MS, the treatment for it, and the long-teim effects of
21
      both substantially affected her life activities, including walking, seeing, standing,
22
      memorizing, concentrating, driving, and speaking at times.
23
              80.     Ms. Frost's condition was not singular, nor temporary, and has no beginning
24    and ending points.
25




                                                    :
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 1          81.     Ms. Frost continues to be treated by physicians for these conditions; and that

 2   treatment has no targeted end date as her conditions are incurable.
            82.     At all relevant times, Ms. Frost was qualified to perform the essential
 3
     functions of her job with or without a reasonable accommodation.
 4
            83.     Ms. Frost did, in fact, have a qualifying disability pursuant to the ADA.
 5
            84.     The Company knew of Ms. Frost's conditions.
 6
            85.     The Company also regarded her as disabled and treated her as such.
 7          86.     Ms. Frost made requests for ac.commodations.
 8          87.     Defendant unilaterally partially granted those requests, but never had a
 9   discussion with Ms. Frost about the partial denial or if other options were available.
10          88.     The Company failed to engage in the interactive process and/or falsely

11   claimed undue hardship.
            .89.    The Company terminated Ms. Frost because of her disability and her need for
12
     an accommodation.
13
            90.     Ms. Frost is entitled to back pay, front pay, compensatory damages, punitive
14
     damages, and her reasonable attorneys' fees and costs.
15
                                      Count Two: ADA Retaliation
16          91.     Ms. Frost reincorporates allegations in paragraphs 1-90, as well as the
17   Introduction, as if fully set forth here.
18          92.     Ms. Frost had a qualifying disability.

19          93.     The Company regarded her as being disabled and treated her as such.
            94.     Ms. Frost engaged in protected activity when she requested accommodations
20
     for that disability and complained about her supervisor's discriminatory conduct.
21
            95.     Defendant terminated Ms. Frost for engaging in protected activity.
22
            96.     Ms. Frost is entitled to back pay, front pay, compensatory damages, punitive
23
     damages, and her reasonable attorneys' fees and costs.
24                                               Conclusion
25          THEREFORE, Ms. Frost respectfully requests the following relief:




                                                   7
      Case 2:21-cv-00297-SMB Document 1-3 Filed 02/17/21 Page 14 of 29




 1         A. A judgment ni her favor against the Defendant;

 2         B. An award of back pay, front pay, and compensatory damages;
           C. Injunctive relief against the Company to prohibit future violations of the ADA;
 3
           D. Pre- and post judgment interest on award;
4
           E. Punitive damages;
 5
           F. Reasonable attorneys' fees and costs; and
 6
           G. All other appropriate equitable relief.
 7
 8         DATED this 8' day of Januaiy, 2021.
 9
10                                       The Foster Group, PLLC
11
12
13                                       Troy P. Foster
14                                       Megan Weides
                                         902 W. McDowell Road
15                                       Phoenix, Arizona 85007
                                         Counsel foY Plaintiff
16
17-
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                                                10
Case 2:21-cv-00297-SMB Document 1-3 Filed 02/17/21 Page 15 of 29




                  EXHIBIT 1
                      Case 2:21-cv-00297-SMB Document 1-3 Filed 02/17/21 Page 16 of 29
EEOC Form 5 (11/09)
                                                                                                                                   Agency(ies) Charge
                      CHARGE OF DISCRIMINATION                                               Charge Presented To:
                                                                                                                                   No(s):
         This form is affected by the Privacy Act of 1974. See enclosed Privacy Act              ~        FEPA
                Statement and other information before completing this form.
                                                                                                 ❑X       EEOC                      540-2020-01346
                               ARIZONA ATTORNEY GENERAL'S OFFICE, CIVIL RIGHTS DIVISION                                                         and EEOC
                                                                 State or /oca/A9ency, if any
Name (indicate Mr., Ms., Mrs.)                                                                                    Home Phone                  Year of Birth

SANDY FROST                                                                                                 (360) 789-3118
Street Address                                                           City, State and ZIP Code

2529 WEST MONTEREY AVENUE, MESA, AZ 85202

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency
That I Believe Discriminated Against Me or Others. (/fmore than two, /istunderPART/CULAR5be%w.)
Nariie                                                                                                    No. Employees, Members            Phone No.

STATE FARM INSURANCE                                                                                  I
                                                                                                              unlrnown
Street Address                                                           City, State and ZIP Code

80 RIO SALADO PKWY, TEMPE, AZ 85281

Name                                                                                                      No. Employees, Members            Phone No.


Street Address                                                           City, State and ZIP Code




DISCRIMINATION BASED ON (Check appropriate box(es).)                                                              DATE(S) DISCRIMINATION TbOK PLACE
                                                                                                                       Earliest              Latest
 ~         RACE       ❑       COLOR         ~     SEX     ❑      RELIGION     ❑       NATIONAL ORIGIN               12-01-2019              02-04^2020

      IXI RETALIATION              ❑        AGE         DISABILITY       ❑        GENETIC INFORMATION
                ❑         OTHER (Specify)                                                                                ❑         CONTINUING ACTION

THE PARTICULARS ARE (/fadditiona/paperisneeded, attach extrasheet(s)):
 In or around October 2000, 1 was hired by Respondent. My most recent position was a Claim Specialist.

 In or around December 2018, 1 reiocated to a new position and requested additional training due to my
 disabiiity, my request which was denied. I began to be subjected to difFerent terms and conditions of
 empioyment, when compared to other non-disabied empioyees.

 On or about March 29, 2019, 1 submitted a reasonabie accommodation request, my request was denied.

 Beginning on or about April 2, 2019, I began to receive numerous illegitimate discipiinary write-ups.

 On or about July 31, 2019, 1 was reieased from my position after Respondent faiied to accommodate my
 reasonabie accommodation request. Subsequently, I filed for short-term disabiiity.

  On or about February 4, 2020, 1 was terminated.
I want this charge filed with both the EEOC and the State or local Agency,            NOTARY - When necessary forState and Loca/Agency Requirements
if any. I will advise the agencies if I change my address or phone number
and I will cooperate fully with them in the processing of my charge in
accordance with their procedures.                                                     I swear or affirm that I have read the above charge and that it
I declare under penalty of perjury that the above is true and correct.                is true to the best of my knowledge, information and belief.
                                                                                      SIGNATURE OF COMPLAINANT


     Dlgitally signed by Sandy Frost on 03-12-2020 01:56 PM                           SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                            EDT                                       (month, day, yeaf)
                      Case 2:21-cv-00297-SMB Document 1-3 Filed 02/17/21 Page 17 of 29
EEOC Form 5 (11/09)

                                                                                                                      Agency(ies) Charge
                      CHARGE OF DISCRIMINATION                                            Charge Presented To:
                                                                                                                      No(s):
      This form is affected by the Privacy Act of 1974. See enclosed Privacy Act             ~    FEPA
             Statement and other information before completing this form.
                                                                                  540-2020-01346
                                                                                             ®    EEOC

                          ARIZONA A1TOiiNEY GENERAL'S OFFICE, CIVIL RIGHTS DIVISION       and EEOC
                                                              State or loca/Aoency, if


 I beBieve @was discriminated against because of my disability, in violation of the Americans with
 Disabilities Act of 1990, as amended. I further believe I was retaliated against for engaging in a protected
 activity, requesting a reasonable accommodation.




I want this charge filed with both the EEOC and the State or local Agency,         NOTARY - When necessary forState and Loca/AgencyRequirements
if any. I will advise the agencies if I change my address or phone number
and I will cooperate fully with them in the processing of my charge in
accordance with their procedures.                                                  I swear or affirm that I have read the above charge and that it
I declare under penalty of perjury that the above is true and correct.             is true to the best of my knowledge, information and belief.
                                                                                   SIGNATURE OF COMPLAINANT


    Dlgitally signed by Sandy Frost on 03-12-2020 01:5G PM                         SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                    EpT                                            (month, day, year)
               Case 2:21-cv-00297-SMB Document 1-3 Filed 02/17/21 Page 18 of 29
CP Enclosure with EEOC Form 5(11/09)

PRNACYACTSiTATEMENT: Under the Privacy Act of 1974, Pub. Law 93-579, authority to
request personal data and its uses are:

1.    FORM NUMBER/TITLE/DATE. EEOC Form 5; Charge of Discrimination (11/09).

2.    AUTHORITY. 42 U.S.C. 2000e-5(b); 29 U.S.C. 211, 29 U.S.C. 626, 42 U.S.C. 12117, 42 U.S.C.
2000ff-6.

3.    PRINCIPAL PURPOSES. The purposes of a charge, taken on this form or otherwise
reduced to writing (whether later recorded on this form or not) are, as applicable
under the EEOC anti-discrimination statutes (EEOC statutes), to preserve private suit
rights under the EEOC statutes, to invoke the EEOC's jurisdiction and, where dual-
filing or referral arrangements exist, to begin state or local proceedings.

4..  RoUTINE USES. This form is used to provide facts that may establish the existence.
of matters covered by the EEOC statutes (and as applicable, other federal, state or
local laws). Information given will be used by staff to guide its mediation and
investigation efforts and, as applicable, to determine, conciliate and litigate claims of
unlawful discrimination. This form may be presented to or disclosed to other federal,
state or local agencies as appropriate or necessary in carrying out EEOC's functions.
A copy of this charge will ordinarily be sent to the respondent organization against
which the charge is made.

S.   WHETHER DISCLOSURE IS MANDATORY; EFFECT OF NOT GIVING INFORMATION. Charges must
be reduced to writing and should identify the charging and responding parties and the
actions or policies complained of. Without a written charge, EEOC will ordinarily not
act on the complaint., Charges under Title VII, the ADA or GINA must be sworn to or
affirmed (either by using this form or by presenting a notarized statement or unsworn
declaration under penalty of perjury); charges under the ADEA should ordinarily be
signed. Charges may be clarified or amplified later by amendment. I"t is not
mandatory that this form be used to make a charge.

                          NOTICE OF RIGHT TO REQUEST SUBSTANTIAL WEIGHT REVIEW

 Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-
 files charges with EEOC will ordinarily be handled first by the FEPA. Some charges
.filed at EEOC may also be first handled by a FEPA under worksharing agreements.
 You will be told which agency will handle your charge. When the FEPA is the first to
 handle the charge, it will notify you of its final resolution of the matter. Then, if you
 wish EEOC to give Substantial Weight Review to the FEPA's final findings, you must
 ask us in writing to do so within 15 days of your receipt of its findings. Otherwise, we
 will ordinarily adopt the FEPA's finding and close our file on the charge.

                                       NOTICE OF NON-RETALIATION REQUIREMENTS

Please notify EEOC or the state or local agency where you filed your charge If
retaliation is taken against you or others who oppose discrimination or cooperate in
any investigation or lawsuit concerning this charge. Under Section 704(a) of Title VII,
Section 4(d) of the ADEA, Section 503(a) of the ADA and Section 207(f) of GINA, it is
unlawful for an employerto discriminate against present or former employees or job
applicants, for an emp/oymentagencyto discriminate against anyone, or for a union
to discriminate against its members or membership applicants, because they have
opposed any practice made unlawful by the statutes, or because they have made a
charge, testified, assisted, or participated in any manner in an investigation,
         Case 2:21-cv-00297-SMB Document 1-3 Filed 02/17/21 Page 19 of 29

proceeding, or hearing under the laws. The Equal Pay Act has similar provisions and
Section 503(b) of the ADA prohibits coercion, intimidation, threats or interference with
anyone for exercising or enjoying, or aiding or encouraging others in their exercise or
enjoyment of, rights under the Act.
Case 2:21-cv-00297-SMB Document 1-3 Filed 02/17/21 Page 20 of 29




                  EXHIBIT 2
                                                                                           .   .
   .                                           .
                  Case 2:21-cv-00297-SMB ... Document      ..
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                                                                  .          ..
                                               .
                                               .               . ..   . ... Page 21 of 29

  EEOCFor[n181$(11H6)                    U.&    EQUAL EIVlPLOYMENT:OPPORTUNITY COMMISSION `

                                       NOTlCE OF RlGHT TI? SUE (/SSUEd ON REQ!lEST



                                                                                                   PhOenix, AZ`85012 :



       ~        On 6ehaff of person(s) aggrieVed whose ideritity !s
                CONFIDENTlAL (29 CFR §i60i.7(a)) :
  EEOC Charge No.                                       EEOC Representadve:                                               Telhone
                                                                                                                            ep    No.
                                                        Jeremy;Yubeta; ;
  640-2020-01346 .                                      Enforcement Supervisor                                          (602) 661-f3015
                                                                                    (See also the additional information enclosed with this fonn.)'
 NOTICE TO THE PER$oN AGGRIEVEO:
 Titie Vif of the Ciil
                   v Rights Act of ~1964,;the Americans with Disabilities Act (ADA),;or the Genetic Irlfomeation Nondiscrimination `
 Act (GINA): This is your Notice_of Right to Sue, issued under Title VII; the ADA or GINA based on ths above-numbered charge. It has :'
 been issued at your request.: Your lawsuft under Ttle VII, the ADA or GINA must be filed in a federal or state cdurt 1NITHIN90; DAYS :
 of your receipt of this ieotice; !or your right to suo based on th'rs charge will be losts (The tirne liinit for filing suit based on a claim under :
 state law may be different)
       a:       More tharl 180 days have passed since the filing of this charge.
       Q        Less than. 180 days have passe.d sirice #he fifing of this charge, b:ut I have determined ttiat it is uniikely that the:EEOC will
                be a;ble to oomplete its administrative processing jwithin;180 cJays from the filirig of;this;charge.
       r=
                The: EEOC is terminating its prdcessing of this charge: :
       ~        The`EEOC will continue to process this charge. i
 Age Discrimination in Emptoyriment Act (AQEA): You may sue urider the ADEA at any time from 6D:days after the charge was filed unfil;
 90;days;afteryou receive notice that we iiave completed aetion;on the chaige. ;In ttiis regard, the paragriaph:marked below':applies to ;
 your case: .
     Q         The: EEOC is closing your case: Therefore, your lawsuit under the ADEA must be fifed In federral or state court WITHIN
               90 DAYS;of your reaeipt of this Notice. Othenuise,;your right to sue based on tf3e above-numbered charge uvill be lost; :

       Q        The: EEOC is continuing its' handling of your ADEA case. However, ifi 60 days have passed since thg filing of the diarge,;
                you :may fi!e suit in federal or state court' under the ADEA at this time.:

 Equal Pay Act (EPA): You already have the right to sue under the EPA (filicg an EEOC Oharge is not ntquired.) EPA suits must be brought :` ;
 in federal or state court within 2 years :(3 years for wiliful:violations) of the atleged EPA underpoyment 1 his :means that backpay due for :
-any viol.ations -that occurred•more-thasi 2 vears (3 vearal•beforeyou-file suit may not be coilectiWe-•-=---                 --    -- --

 If yau fite suit, based on #his charge, ptease send a copy of your court?complaint to this ofFice. :

                                                                        On behalf of the Corrimission :


                                                                                                                           ; 12/11/202Q :
                                        Case 2:21-cv-00297-SMB Document 1-3 Filed 02/17/21 Page 22 of 29
               ~ Encloaura with EEOC
                 Form 161-8 (11Me)
                                                                                       INFORMATION RELATED TO FILING SUIT
                                                                                     UNDER THE LAWS ENFORCED BY THE EEOC

                         •.
                                                       s n orrna ron rie/sfes to frling suJt rn Federafor Statd'coUrt'dnderFederal7aiti . .. .
                      ...................lf..you.also ptan to.sue.claiming.violations.of..Stafe law,.please.be.awans. that.time.limits.and.other..........................................
                                                 provisions of Stafe law may be shorter or more limited than those described below.)

                                                                              Titie Vii of the Civil Rights Act, the Americans with Disabilities Act (ADA),
.................... PRIVATE.Surr.RIGHTS........--......
                                                                              the Genetic lnformation Nondiacrimination Act'(GINA)~ oi~-the Age. .... . ... . .
    ........................................................................................Discr.imination In. Employment.Act.(ADEA):..... . ..................................................................:...........

                  In order to pursue this matter further, you must file a lawsuit against the respondent(s) named In the charge within
                  90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
                      y period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
                 consulf an attorrieyo you should doso promptiy: 'Give your'attorney a copy of this Notice; and' its envelope; arid tell
                 him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
                 manner, it is prudent that your suit be filed within 90 days of the date this Notice was malled to you (as
                  indicated where the Notice is signed) or the date of the postmark, if later.

                  Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
                  State court is the general civil trial court.) Whether you f(le in Federal or State court is a matter for you to decide
                  after talking to your attorney. Filing this Notice is not enough. You must file a"complaint" that contains a short
                  statement o f the facts of your case which shows that yoU. are entitled to rellef. Courts often require that a copy of
          your charge must be attached to the complaint you file in court. If so, you should remove your birth date from the
          charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
          any matter alleged in the charge or, to the extent permitted. by court decisions, matters like or related to the matters
          alleged in the charge. Generaliy, suits are brought in the State where the alleged unlawful practice occurred, but in
---- - --some cases can be brought where relevant employment records are kept; where the employmentwould fiave ..... .... .
          been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
          the office of the clerk of the court where you are bring ing suit, but do not expect that office to write your complaint
                  or make legal strategy decisions for you.

. . .. ...... ......PRIVATE SUITRIGHTS.:.......--......Equal.Pay.Act.(EPA):............... ............................. .....

                  EPA suits must be filed in courf wifhin 2 years (3 years forwillful iiiolations) of'the alleged-EPA uriderpayiiienf: back
                  pay due for violations that occurn:d more than 2 vears (S vears) before you file suit may not be collectible. For
                  example, ff you were underpaid under the EPA for work perforrned from 7/1/08 to 12/1/08, you should file suit
                  tiefore 7/1/10'- not 1271110 ~ in order to recover unpaid 'wages due for July 2008: This tiine limit for fiiling an EPA ""
                 suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA refern.d to above.
                 Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
                 claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.
-      -                                                                                                                                                                ..     .                            _. . . _.. . .
             ......ATTORNEY REPRESENTATION...,. ~ ..
                                                                                           .Titie Vll; the ADA orGINA:........................ .. ....................... . . .. ........................................................

                    If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
                    in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
     _._............made.to.the..U.S..District.Court. in..the.form.and.manner. it.requireS..(yo.u..Shoul.d. be.prepared to.expiain. in, detail.your ..... ............:...
                 efforts to retain an attomey). Requests should be made well before the end of the 90-day period mentioned above,
                 because such requests do not relieve you of the requirement to bring suit within 90 days.


                 ATTORNEY                   REFERRAL
                 . ............................... . . .... . ....... ..AND       EEOC ASSISTANCE                                          — AII Statutes:
                                                                        ................................ ..... .................................................
                                                                                                                                                ....................................:..

                 You may contact the EEOC repnesentative shown on your Notice if you need help in finding a lawyer or if you have any
                 questions about your legal rights, inoluding advice on which U.S. District Court can hear your case. lf you need to
                 inspect or obtain a copy of informafion in EEOC's file on the charge, please request it promptly in writing and provide
                 your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
                 are kept forat least 6 months after our last action on the case. •Therefore; ifyou file suit and want to reviewthe charge
                 file, please make your review request within 6 months of this Notice. (Before filing suit any request should be
                  made within the next 90 days.)

                                             1F YOU F1LE SU1T,  PLEASE SEND
                                                            .. ..........................         A COPY OF
                                                                                          .............................     YOUR
                                                                                                                        . .......         COlJRT COMPL4INT TO THlS OFFICE.
                                                                                                                                  ......................................................................................................................
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                                                       -                                       i

NOTICE OF RIGHTS Ul`TDER TIIE ADA AMENDMENTS ACT OF 2008 (ADAAA): The ADA ;was
amended, effective January 1, 2009, to broaden the definitions of disaliility to make it easier for individuals tq
be covered under the ADA/ADAAA. A disability is still.defined as (1) a physical or mental impaimmrit that
substantially liniits one or more major life activities (actual disability); (2) a record of a substantially limiting
impairment; lor (3) being regarded as having a disability. However, these terms are redefined, and it fs easier to
be covered under the new law.




httQ://www.ieeoc.aov/laws/tvDeslaisability reeulations.cfm.

"Actual" disability or a urecord op' a disability (note: if you are ;pursuing a failure to accommodate ctaim
you must mcet ahe standards for either "actuaN" or Krecord of" a disability):

 ➢ The limitations from the impairment no longer have to be severe or significant for the impairment to
   be considered substantially limiting.
 ➢ In additiori to activities such as performing manual tasks, :walking, seeing, hearing, speaking, breathing,
   learning, thinking, concentrating, reading, bending, and comrimunicating (more examples at 29 C.F.R. §
   1630.2(i)), "major life activities" now include the operation of major bodily functions, such as:
   functions of the immune system, special sense organs and: skin; normal cell growth; and digestive,
   genitourinary, bowel, bladder, neurological, brain, respiratory, circulatory, cardiovascular, endoccine,
   hemic, `lymphatic, musculoskeletal, and reproductive functions; or the operation of an individual organ
   within a body system.
 ➢ Only one inajor life activity need be substantially limited. :
 ➢ With the ;exception of ordinary eyeglasses or contact lenses, the beneficial effects of "mitigating
   measures" (e.g., hearing aid, prosthesis, medication, ;thetapy, behavioral modifications) are : not
   considered in detennining if the impairment substantially liinits a major life activity.
 ➢ An impairment that is "episodic" (e.g., epilepsy, depression, multiple sclerosis) or "in remissiori" (e.g;,
   cancer): is a disability if it would be substantially limiting when active.
 ➢ An impairment may be substantially limiting evcn though it lasts or is expected to last fewer than six
   months.

"Regarded as":coverage:
 ➢ An individual can meet the definition of disability if an employment aetion was taken because of an
    actual; or; perceived impairment (e.g., refusal to hire; demotion, placement on involuntary leave,
    terminatioh, exclusion for failure to meet a qualification standard,: harassment, or denial of any other terni,
    condition,:or privilege of employment).
 ➢ "Regarded as" coverage under the ADAAA no longer requires that an impainment be 'substantially
    limiting, or that the employer perceives the impairment to b:e substantially limiting.
 ➢ The erripiayer has a defense against a"regarded as" claim only w}ien the impairment at issue is objectively
    BOTHtransitory (lasting or expected to last six months or less) AIVD minor.
 ➢ A person is not able to bring a failure to accommodate clsim; if the individual is covered only under: the
    "regarded as°' definition of "disability;"

Note: Although the amended ADA states that the defrnitlon pf dfsability "shall be construed broadly";and
"should not iderrrand extenslve analysis," some courts require specifiCity in the complaint. explalning how an
lmpairment substantially limits a ma,jor life activlty or what facts rndfcate the challenged employment actioa
was because of the impafrment. Beyond the initfal pleading stage; some courts will require specific evidence
to establish ; disability. For more information, consult the amended regulations and appendix, as weil as
explanatory publications, available at http://www.eeoc.~,ov/laws/types/disabilitX reaulations.cfin.
                  Case 2:21-cv-00297-SMB Document 1-3 Filed 02/17/21 Page 24 of 29

EEOC Porm 5 (11109)
                                                                                                                             H9encyties) L.narge
                      CHARGE OF DISCRIMINATION                                            Charge Presented To:               No(s):
       This form is aHected by the Privacy Act of 1974. See enclosed Privacy Act             FI    FEPA
             Statement and other Information before completing thts form.
                                                                                              XQ EEoc                             540-2020-01346
                               ARIZONA ATi`ORNEY GENERAL'S OFFICE, CIVIL RIGHTS                                                                  and EEOC
                                                                5tate or/ocalAgency, ifany
Name (Ind/cate Mr., Ms., Mrs)                                                                               Home Phone            I           Year of Birth
 SANDY FROST                                                                                            (360) 789-3118
Street Address                                                         City, State and ZIP Code
2529 WEST MONTEREY AVENUE, MESA, AZ 85202

Named is the Empioyer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Govemment Agency
That I Believe Discriminated Against Me or Others. ((fmore than tcvo, !lstunderPART/CUlARSbe(ow.)      ~
Name                                                                                 No. Emptoyees. Members                                 Phone No.
STATE FARM INSURANCE                                                                                     Unimown
Street Address                                                         City, State and ZIP Code
80 RIO SALADO PKWY, TEMPE, AZ 85281

Name                                                                                                No. Emptoyecs, Members                  Phone No.


5treet Address                                                         Clty. State and ZIP Code



DISCRIMINATION BASED ON (Check appropriate box(es).)                                                        DATE(S) DISCRINlINAT10N TOOK PLACE
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                                                        DISABiLnY      ❑
                                                                            Fl     NATIONAL ORIGIN

                                                                             GENETIC INFORMATION
                                                                                                             12-01-2019                     02-04-2020

              ❑           OTHER (Specify)                                                                          ~         CQNTINUING ACTION

THE PARTICULARS ARE (/fadditiona/paperis needed, attach extrd sheet(s)):
  in or around October 2000,1 was hired by Respondent. My most recent posifiion was a Claim Speciaiist
  in or around December 2018, i relocated to a new position and requested additionai training due to my
  disabiiity, my request which was denied. l began to be subjected to different terms and conditions of
  employment, when compared to other non-disabled employees.                                                                  I

  On or about March 29, 2019,1 submitted a reasonabie accommodation request, my request was denisd.
  Beginning on or about Apri12, 2019,1 began to receive numerous illegitimate discipiin,ary write-ups.
                                                                                        l ccommodate my
  On or about )uly 31, 2019,1 was released from rny position after Respondent failed to a
  reasonabie accommodation request. Subsequently, l filed for short-term disability.
  On or about February 4, 2020, 1 was terminated.
I want this charge Flled with both the EEOC and the State or local Agency,         NOTARY - When necessary forState and               calAgency Requlrements
if any. I will advise the agencies if I change my address or phone number
and I wili cooperate fu(ly with them in the processing of my charge in                                                        i
accordance with their procedures.                                                  I swear or affirm that I have read the above charge and that it
1 deciare under penaity of perJury that the above is true and correct.             is true to the best of my knowiedge, information and beiief.
                                                                                   SIGNATURE OF COMPLAINANT


    Digitafiy signed by Sandy Frost on 03-12-2020 01:56 PM                         SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                            EDT                                    (montd, day, yearl
                   Case 2:21-cv-00297-SMB Document 1-3 Filed 02/17/21 Page 25 of 29

EEOC Fortn 5 (lll08)
Case 2:21-cv-00297-SMB Document 1-3 Filed 02/17/21 Page 26 of 29




                  EXHIBIT 3
            Case 2:21-cv-00297-SMB Document 1-3 Filed 02/17/21 Page 27 of 29




             On tvtasch .12, 2020 yora;filed ;a charge witli the t3ivfisian. bf CivjI. .R. i~lits S~ctlan.alleging
             erriplgyrnerrt>discrimirratic~n. Arizona law provrdes tha.t you may bring a civr! :actian rtt
             Super-ior Cour₹ of the .county where the .alloged discr`€mir~afirir~t: act"icin toof~ p4ace:. 6ho,uid.
             ycu::tlecide to. file:a civil action, you must d~' so wifhrl 9f? days of fhe dat~ ~vU recerve
             th~s: Notfce cr wt4t~in c~+~ ~~~r:of the :da#~ yau frled the~ cl~ar~e, ~r.#iiic~re~er ~crme~ #irst,
             :A_ R.S.. § 4 3-148'i (D)•


             ~`tris ;~ofiioe nf P*t:td SU.e le₹f'dr is b;bih,4•es ued b*4'Cat).#,e:
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             1f you'have any ~u~strari~ e~ncerrrini~ tliis rao#ice,;;pieasa coiitact. us af (520) 62:8:650€):
             or toi) free at 1-877-49'1=574:0.:: lf,you need legat assistance;. yoia should: si;ek the:.aduice
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                                     - . . ..      .. ..               .                            ,. .. '
             Patricia G; B:ianchl;. Gcmpli;arice (Vlariager '

                                                   ,
             Sent: by reguEar rimarl:this 1 Sth day..cif C~Ctotier; 2t121?.


             cP; State      Farrn lras (Respopdentj



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                                                                   VMNt.AL,4G GQV
2/1/2021             Case 2:21-cv-00297-SMB Document
                                            Civil Court Case1-3    Filed- Case
                                                             Information   02/17/21
                                                                               History Page 28 of 29

      Language
  Select  Docket
 Powered by       Translate




           Civil Court Case Information - Case History

      Case Information
      Case Number:     CV2021-000326              Judge:      Duncan, Sally
      File Date:       1/8/2021                   Location:   Downtown
      Case Type:       Civil

      Party Information
      Party Name                                                                         Relationship   Sex      Attorney
      Sandy Frost                                                                        Plaintiff      Female   Troy Foster
      State Farm Mutual Automobile Insurance Company                                     Defendant               Pro Per


      Case Documents
      Filing Date           Description                                                    Docket Date      Filing Party
      1/21/2021             AFS - Affidavit Of Service                                     1/25/2021
      NOTE: Certificate of Service by Private Process server - STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY
      1/8/2021              COM - Complaint                                                1/8/2021
      NOTE: Complaint
      1/8/2021              CSH - Coversheet                                               1/8/2021
      NOTE: Civil Cover Sheet
      1/8/2021              CCN - Cert Arbitration - Not Subject                           1/8/2021
      NOTE: Certificate Of Compulsory Arbitration - Is Not Subject To
      1/8/2021              SUM - Summons                                                  1/8/2021
      NOTE: Summons


      Case Calendar
      There are no calendar events on file


      Judgments
      There are no judgments on file




www.superiorcourt.maricopa.gov/docket/CivilCourtCases/caseInfo.asp?caseNumber=cv2021-000326                                    1/2
2/1/2021            Case 2:21-cv-00297-SMB Document
                                           Civil Court Case1-3    Filed- Case
                                                            Information   02/17/21
                                                                              History Page 29 of 29




www.superiorcourt.maricopa.gov/docket/CivilCourtCases/caseInfo.asp?caseNumber=cv2021-000326           2/2
